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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA

 IN THE MATTER OF AMERICAN                                         CIVIL ACTION
 RIVER TRANSPORTATION, CO.,
 LLC, AS THE OWNER AND
 OPERATOR OF THE M/V                                               NO: 18-2186
 LOUISIANA LADY, PRAYING FOR
 EXONERATION FROM OR
 LIMITATION OF LIABILITY                                           SECTION: "S" (2)

                                      ORDER & REASONS

       IT IS HEREBY ORDERED Claimants'/Third-Party Plaintiffs' Motion to Extend

Jurisdictional Discovery Cut-off (Rec. Doc 144) is GRANTED.

       Following the filing of a motion to dismiss for lack of personal jurisdiction filed by third-

party defendant LG Chem America, Inc's (LGCAI), this court granted claimants a cut-off date to

conduct discovery related to personal jurisdiction over LGCAI, which, due to several extensions,

was extended until September 28, 2020. The challenges of the COVID-19 pandemic have been

responsible in part for the extensions. Claimants now seek an additional extension of 90 days,

and defendant LGCAI opposes the extension.

       It was determined through discovery that two entities, BTB Networks, Inc. and Green

Battery Technologies LLC, did not purchase lithium-ion batteries from LGCAI, but only from its

parent company, LG Chem Ltd. For this reason, LGCAI argues that no further discovery is

necessary. However, during discovery, other entities were identified for which discovery

requests have been made and remain unsatisfied, and for which claimants intend to notice

depositions and issue subpoenas. While claimants' request does not recite the specific facts it

seeks to establish via this discovery, they aver that the requested extension is essential to address

the personal jurisdictional issue related to LGCAI. They further aver that the extension will not
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affect the trial date or the court's current scheduling and case management orders.

       The court finds that considering the totality of the circumstances, a 90-day day extension

is justified, and accordingly,

       IT IS HEREBY ORDERED Claimants'/Third-Party Plaintiffs' Motion to Extend

Jurisdictional Discovery Cut-off (Rec. Doc 144) is GRANTED, and the cut-off for

jurisdictional discovery is extended until December 28, 2020.



       New Orleans, Louisiana, this 19th
                                    _____ day of October, 2020.



                           ____________________________________
                                MARY ANN VIAL LEMMON
                            UNITED STATES DISTRICT JUDGE




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